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UNITED STATES DISTRICT COURT
for the `
EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Shaquille BROWN Docket No. l:lS-MJ-274
Petition for Action on Conditions of Pretrial Release

COMES NOW, U.S. PROBATION OFFICER N]COLE R. ANDREWS, presenting an official
report upon the conduct of defendant Shaguille BROWN, who was placed under pretrial release supervision by
YOUR HONOR, sitting in the court at Alexandria, VA, on June 18, 2018, under the following conditions:

*Report to Pretrial Services as directed;
*Do not break any laws; and
*.Continue or actively seek employment.

RESPECTFULLY PRE.SENTING PETI'I`ION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:

On June 29, 2018, the defendant was charged with l) Malicious Destruction of PropertyNalue $l,000; 2) Telephone
Misuse: Repeat Calls, and 3) False lmprisonment, in Prince Georges County, Maryland.

PR.AYING THAT THE COURT WILL issue a SUMMONS and the defendant return to court and show cause
why his conditions of release should not be revoked.

RETURNABLEDATE; 7'0’/' /J“ €, /0:00&/)/1

 

 

ORDER OF COURT I declare under the penalty of perjury that the

g `r"v/ foregoing is true and correct.
Considered and ordered this / day pc;f@“`»a"i
Of ther/y

20 l% and ordered filed and made a xecuted on: July 13, 8
records in the above case.

 

 

!s)' '
Theresa Carro|i Buchanan ' Nicole R. Andrews
@\Unjw@€@s Niagistrate dodge U_S_ probation Of[icer
Theresa Carroll Buchanan

U.S. Magistrate lodge

